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PAC
From:                                 SpecialCounselPress
Sent:                                 Friday, January 25, 2019 6:16 AM
To:                                   SpecialCounselPress
Subject:                              U.S. v. Roger Jason Stone Jr. (1 :19-cr-18, District of Columbia)



        Roger Jason Stone, Jr., 66, of Fort Lauderdale, Florida, was arrested in Fort Lauderdale today following
an indictment by a federal grand jury on Jan. 24, 2019, in the District of Columbia. The indictment, which was
unsealed upon arrest, contains seven counts: one count of obstruction of an official proceeding, five counts of
false statements, and one count of witness tampering.

       Stone will make an initial appearance later today at the federal courthouse in Fort Lauderdale.
Additional information about the court appearance will be provided once it is scheduled.

           Court documents can be found at www.justice.gov/sco.

           Best,
           Peter Carr
           Spokesman
           Special Counsel's Office




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